                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION


 ALEXANDRA DAVIS,
      Plaintiff,

 VS.                                                            CIVIL ACTION NO. _______________

 JERRAL W. JONES, DALLAS COWBOYS                                         JURY TRIAL DEMANDED
 FOOTBALL CLUB, LTD., JAMES
 WILKINSON, TRAILRUNNER
 INTERNATIONAL, LLC, and DONALD JACK,
 JR.
       Defendants.



                PLAINTIFF’S ORIGINAL COMPLAINT FOR DEFAMATION

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Alexandra Davis, (“Plaintiff”), and complains of Jerral W. Jones,

(“Defendant Jones”), Dallas Cowboys Football Club, LTD., (“Defendant Dallas Cowboys”),

James Wilkinson (“Defendant Wilkinson”), Trailrunner International, LLC (“Defendant

Trailrunner”), and Donald Jack, Jr. (“Defendant Jack”) for cause of action would respectfully show

the Court the following:

                                             PARTIES

1.      Plaintiff is a resident of the District of Columbia.

2.      Upon information and belief, Defendant Jerral W. Jones is an individual residing in Dallas

County, Texas, and may be served at his residence located at 4400 Preston Road, Highland Park,

Dallas County, Texas 75205.

3.      Upon information and belief, Defendant Dallas Cowboys is a Texas limited partnership

with its principal place of business located at One Cowboys Way, Frisco, Texas 75034, and may


Plaintiff’s Original Complaint                                                              Page 1
be served by serving its Registered Agent, CT Corporation, at 1999 Bryan Street, Ste. 900, Dallas,

Texas 75201-3136.

4.      Upon information and belief, Defendant James Wilkinson is an individual residing in

Tarrant County, Texas, and may be served at his residence located at 2005 White Wing Cove,

Westlake, Texas 76262.

5.      Upon information and belief, Defendant Trailrunner is a Texas limited liability company

having its principal place of business at 1900 W. Kirkwood Blvd. Unit 1400B, Southlake, Texas

76092-2241, and may be served by serving its Registered Agent, Andrew Wambsganss, at 600 N.

Carroll Ave., Suite 100, Southlake, Texas 76092. At all times during the complained of acts,

Defendant Trailrunner employed Defendant Wilkinson.

6.      Upon information and belief, Defendant Donald Jack, Jr. is an individual residing in

Pulaski County, Arkansas, and may be served at his place of business at 1 Allied Drive, Suite 1110,

Little Rock, Arkansas 72202-2043.

                                 JURISDICTION AND VENUE

7.       This Court has jurisdiction pursuant to 28 USC 1332(a) because there is diversity among

the parties. Plaintiff is a citizen of the District of Columbia, and her residency is diverse from all

of the Defendants. The amount in controversy exceeds $75,000.00.

                                  FACTUAL BACKGROUND

8.      Plaintiff was born in Arkansas on December 16, 1996. Approximately one year previous

to Plaintiff’s birth, Plaintiff’s mother, Cynthia Davis Spencer (“Cynthia”), was married but was

estranged and living apart from her husband.

9.      Around this time, Cynthia met and was pursued romantically by Defendant Jones, the well-

known Arkansas native owner and general manager of the Dallas Cowboys’ football NFL



Plaintiff’s Original Complaint                                                                  Page 2
franchise. After being pursued by Defendant Jones, Cynthia and Defendant Jones began a romantic

relationship, which included sexual relations.

10.     After her relationship with Defendant Jones began, Cynthia briefly reunited with her

estranged husband. During the brief attempted reconciliation with her husband, Cynthia was

unaware that she was pregnant with Plaintiff from the relationship with Defendant Jones.

11.     Shortly after Plaintiff was born, Cynthia and her husband began divorce proceedings in

Arkansas. During the divorce proceedings, Cynthia’s husband legally challenged whether he was

the biological father of Plaintiff.

12.     After genetic tests were conducted in accordance with the divorce court’s procedures, it

was scientifically determined that Cynthia’s husband was not Plaintiff’s biological father. In June

1998, the divorce court entered a Decree of Divorce, which included a judicial finding and

adjudication that Cynthia’s husband was not Plaintiff’s biological or legal father. As a result,

Cynthia’s husband was not ordered to pay child support, and Plaintiff did not have a legal father.

13.     As soon as the genetic testing results came back, Cynthia informed Defendant Jones of the

results knowing that Defendant Jones was Plaintiff’s biological father. At this time, Defendant

Jones unequivocally and adamantly stated two things to Cynthia. The first was that he “never was

going to take a paternity test.” The second thing he vehemently asserted to Cynthia was that he

would “never meet or have any relationship with the child.”

14.     Faced with a potential public scandal, and certainly private problems being a married man

with an existing family with grown children, Defendant Jones wanted to ensure that he would not

be publicly or privately identified and/or legally declared as Plaintiff’s father. As he stated

unequivocally to Cynthia, Defendant Jones had no intention of meeting or having any kind of

relationship with Plaintiff.



Plaintiff’s Original Complaint                                                               Page 3
15.     Defendant Jones, knowing that Cynthia was now a single mother with an infant child, no

financial resources, and an uncertain financial future at best, immediately set out to negotiate an

agreement with Cynthia that would exchange money for silence. This was the only way he could

stay anonymous and achieve his stated objective of never taking a paternity test. Accordingly, with

the help of his long-time Arkansas friend and lawyer, Defendant Jack, Defendant Jones sought to

reach a “hush money” deal with Plaintiff’s mother Cynthia.

16.     A “hush money” deal was struck. The essence of the deal was that Defendant Jones would

provide, through indirect means and with his personal identity hidden, ongoing monthly support

for Cynthia with monies earmarked as “child support” conditioned on Cynthia remaining silent

about the fact that Defendant Jones was Plaintiff’s father. If Cynthia failed to maintain such

silence, the support would end at Defendant Jones’ discretion, and Cynthia would be subject to

being sued by Defendant Jones, resulting not only in the end of future monthly support but also

the return of support previously provided.

17.     The primary purpose of the arrangement was designed for Defendant Jones to maintain

leverage and intimidation over Cynthia to not disclose Defendant Jones’ identity, and to compel

Cynthia to train Plaintiff from ever disclosing and/or identifying who her father was.

18.     The final deal was memorialized in two written documents (the “Settlement Documents”).

In addition to binding Cynthia, the Settlement Documents purported to bind Plaintiff, then a one-

year-old child, to confidentiality via her mother’s signature. The Settlement Documents also

attempt to prevent Plaintiff from ever seeking a legal adjudication that Defendant Jones was her

father. In essence two adults, with their own motivations and interests, entered into an agreement

that purportedly would relieve Defendant Jones of support obligations if Cynthia or Plaintiff ever

revealed, legally asserted, or even mentioned that Defendant Jones was Plaintiff’s father to anyone



Plaintiff’s Original Complaint                                                               Page 4
at any time. The Settlement Documents were entered into without court approval. Further, at no

time was Plaintiff’s interest represented by any disinterested party without a conflict of interest.

19.     Defendant Jones has continued to have contact with Cynthia over the years, but has

declined her requests to establish a relationship with, or even meet with, Plaintiff who he knows

to be his daughter.

20.     Plaintiff is now a twenty-six-year-old woman. She has lived her life fatherless and in secret.

Her life has revolved around constant fear that if she should tell anyone who her father was, she

and her mother would lose financial support or worse. Plaintiff grew up in the Dallas area. and

went to college and graduated from Southern Methodist University in Dallas, a distance less than

two miles from Defendant Jones’ residence. Plaintiff has had to endure the endless public profiles

of her father and siblings while forced to remain secret to everyone, including her closest

confidants.

21.     Despite the emotional obstacles of being abandoned and shunned by her father and forced

to live in secrecy, Plaintiff excelled academically and professionally. She presently works for a

United States Congressman from Texas in Washington, D.C., after serving in the White House for

fourteen months.

A. Negotiations Prior to Declaratory Judgment Action

22.     Plaintiff decided to seek legal guidance as to her rights for the first time as they related to

Defendant Jones, parentage, and the so-called Settlement Documents. After meeting counsel

regarding these issues that had dominated her entire life, she decided to seek her legal right to

confirm biologically who her father was and establish her parentage.

23.     Accordingly, on or about January 4, 2022, Plaintiff’s counsel sent an email to general

counsel of the Defendant Dallas Cowboys, Jason Cohen. The email stated as follows:



Plaintiff’s Original Complaint                                                                   Page 5
        I hope this email finds you well in this New Year.

        I am about to send Mr. Jones (senior) a letter regarding a claim involving what he
        may perceive to be a sensitive and personal legal matter. I do not want to
        unnecessarily publish the existence of this to other people who might deal with his
        mail and at the same time I need to make sure that Mr. Jones receives and gives due
        consideration to the matter set forth in my letter. To accomplish these goals, I
        thought I might reach out to you and see if you want to accept this letter on behalf
        of Mr. Jones.

        Please let me know that you received this email and whether or not you want to
        accept this letter on his behalf. If you want to talk, please feel free to contact me on
        my cell xxx xxx-xxxx. Thank you.

24.     After Mr. Cohen responded that he would accept the letter on Defendant Jones’ behalf,

Plaintiff’s counsel sent the letter dated January 5, 2021 (actually the year should have been 2022)

to Mr. Cohen. The letter was addressed to Defendant Jones in care of Mr. Cohen. See Ex. 1, Letter

to Defendant Jones.

25.     The letter explains that Plaintiff believes she is Defendant Jones’ biological daughter and

that counsel was hired to represent her in determining whether Defendant Jones was her biological

and legal father. The letter advises Defendant Jones that Plaintiff was not trying to harass or

embarrass him in any way and offered an easy private resolution in accordance with Texas law.

No money was demanded nor was there any threat to make the matter public. In fact, as set forth

above, counsel reached out to Mr. Cohen to avoid any staff member or member of Defendant

Jones’ family from inadvertently seeing the letter’s contents. Plaintiff suggested that she was

willing to undergo genetic testing to confirm to Defendant Jones whether she was his daughter.

26.     Plaintiff sought Defendant Jones’ participation without the necessity of filing a lawsuit to

avoid potential publicity that the filing of a paternity lawsuit could attract. Plaintiff, neither

personally nor through her legal counsel, ever threatened to make the matter public nor sought any

financial compensation.



Plaintiff’s Original Complaint                                                                     Page 6
27.     In response to receiving the email and letter, Plaintiff’s counsel was notified by Mr. Cohen

that Defendant Jones’ counsel would be in contact shortly. On March 1, 2022, after not receiving

any contact from Defendant Jones’ counsel, Plaintiff’s counsel reached out to Defendant Jones’

counsel and forwarded a copy of the lawsuit that Plaintiff intended to file if Defendant Jones would

not agree that Plaintiff was not bound by the Settlement Documents entered into when she was

one year old. Once again, no monetary compensation was sought, much less demanded.

28.     The draft of the lawsuit forwarded to Defendant Jones was a declaratory action, which

sought a declaration from the court that Plaintiff was not bound by the Settlement Documents that

Defendant Jones had tried to bind her to since she was an infant. The declaratory action would

clear the way for Plaintiff to be able to request a Court to require that Defendant Jones be ordered

to submit to genetic testing. This action would alleviate the concern that Defendant Jones would

take overwhelmingly expensive and oppressive actions against Plaintiff or her mother for any

alleged breach of the Settlement Documents as neither had the resources to fight and/or compete

against the billionaire Defendant Jones.

29.     Plaintiff hoped that the lawsuit would not be required, and this last resort could be avoided

if Defendant Jones just agreed to submit to genetic testing in private. Plaintiff never demanded any

money as part of the resolution. Plaintiff only sought to establish her parentage and an agreement

that Plaintiff was not bound by the Settlement Documents entered into when she was one year old.

30.     Defendant Jones was not agreeable to resolving these issues without litigation.

Disappointed and disheartened, Plaintiff filed a declaratory judgment action (the “Lawsuit”).

Plaintiff did not provide the Lawsuit to the press or contact the media in any way to alert the media

as to the Lawsuit’s existence. Again, the Lawsuit did not seek money damages.




Plaintiff’s Original Complaint                                                                 Page 7
31.     After filing the Lawsuit, Defendant Jones’ counsel contacted Plaintiff’s counsel asking if

Plaintiff would agree to have the Lawsuit sealed to avoid public media and private disclosure.

Consistent with Plaintiff’s desire to keep the matter private, Plaintiff immediately agreed to

Defendant Jones’ request. Unfortunately, before the sealing could be accomplished, the filing of

the Lawsuit was apparently picked up by the Dallas Morning News, who immediately published a

story about it.

32.     After the Dallas Morning News published its story, the Lawsuit immediately attracted

local, national, and international attention. At this point, Defendant Jones’ rescinded his request to

seal the record.

B. Scheme to Publicly Defame Plaintiff

33.      Plaintiff never made a demand for money to Defendant Jones in any way associated with

the request for parentage or filing of the Lawsuit. Regardless, Defendant Jones, with his team of

lawyers, marketing and media professionals, initiated a deliberate plan and scheme to publicly

defame Plaintiff. This plan, as set forth below, centered upon attacking his own daughter in the

world-wide public domain as an “extortionist” and a “shakedown artist” whose motivation was

money and greed and who was “conspiring” in concert with other “extortionists” to exact money

from Defendant Jones and his family. This designed campaign was based knowingly on false

statements and accusations alleged by Defendant Jones and his agents to be truthful facts both in

court filings and in public statements to the media. The purpose of the false statements was to

discredit Plaintiff’s character in the public eye.

34.      Defendant Jones’ first step in the false and purposeful character assassination attack of

Plaintiff was the filing of his initial response to the Lawsuit of a document titled “Plea to The

Jurisdiction and Subject Thereto Original Answer” (the “Plea to the Jurisdiction”). The Plea to the



Plaintiff’s Original Complaint                                                                  Page 8
Jurisdiction, filed on March 28, 2022, falsely asserted that Plaintiff sought money from Jones in

exchange for keeping the matter private.

35.     Although completely unrelated to the matters asserted in the Lawsuit and inappropriate in

a responsive pleading, Defendant Jones falsely stated the following in what was labeled

“Introduction”:

        Plaintiff, a twenty-five-year-old woman currently employed by a United States
        Congressman in Washington D.C., claims that Defendant [Jones] is her
        unacknowledged father. But before making these allegations [Plaintiff] delivered a
        draft of her lawsuit to Defendant and, to borrow her phrase, asked whether he would
        like to ‘make a deal’ to ‘assure that he would not be publicly or privately identified
        and/or declared as Plaintiff’s father.’ [] When Defendant declined to pay, this
        lawsuit followed.

        Plaintiff’s ‘let’s make a deal’ overtures were made at the same time Defendant
        [Jones] and the Dallas Cowboys were the targets of multiple extortion attempts.
        The potential source(s) of those attempted extortions, including without limitation,
        the Plaintiff [Alexandra Davis] and her agents, will be the subject of other litigation
        which has been filed or will be instituted shortly.

36.     Upon information and belief, the Defendants provided this pleading to media outlets, as

they customarily do, to ensure that the accusations were picked up by the media. Of course, the

highly public profile of Defendant Jones with his immense public relations resources, these wholly

false accusations were quoted by innumerable media outlets worldwide. The substance of these

pleadings was also affirmed by the Defendants when questioned by the media. Article after news

article ran with some form of headline that referenced Plaintiff as being accused of being an

“extortionist” by the famous Defendant Jones.

37.     Around this same time, Defendant Jones’ daughter, Charlotte Jones Anderson was going

through a contentious divorce with her husband, Shy Anderson. On March 10, 2022, counsel for

Defendant Jones wrote a so-called “Preservation Letter” to Shy Anderson’s divorce attorney,

wherein Defendant Jones accused Mr. Anderson of working with “others” to extort money from



Plaintiff’s Original Complaint                                                                    Page 9
the Jones family. Plaintiff was specifically named in the letter. This letter was provided to the

media to be used by the media to further propagate the extortion narrative and to tie Plaintiff to

other supposed bad actors who were alleged to have been wrongfully seeking money from

Defendant Jones and/or his organizations. Upon information and belief, this letter was again

provided directly to the media by Defendant Jones and his team.

38.     As a result of the slander campaign by Defendant Jones and his camp, Plaintiff was

depicted as an extortionist that was in “conspiracy” with others supposedly attempting to extort

money from the Jones family. These “others” apparently included the Dallas Cowboys

Cheerleaders, who were allegedly video recorded by the Dallas Cowboys’ longtime chief media

head while the they were undressing. This scandal, which occurred several years earlier, was the

subject of media disclosure around the same time as Plaintiff’s existence was being made public,

and it was reported that the Cowboys paid money to the cheerleader complainants in exchange for

nondisclosure.

39.     On March 30, 2022, in an interview published by ESPN, Defendant Wilkinson furthered

the public smear campaign against Plaintiff. Defendant Wilkinson, as spokesperson for Defendant

Jones and the Dallas Cowboys, stated, “This whole saga and series of recent attacks amounts to

nothing more than an amateurish coordination among various parties to try to shake down the

Jones family for money.”

40.     This statement was patently false. At no time did Plaintiff attempt to “shake down”

Defendant Jones, nor did Plaintiff coordinate with any other party or person in seeking her legal

right to determine her legal father. Defendant Wilkinson’s comments were totally lacking any

factual basis and were false.




Plaintiff’s Original Complaint                                                             Page 10
41.     On March 31, 2022, just days after the Plea to the Jurisdiction pleading accusing Plaintiff

of being an “extortionist” was filed, Defendant Wilkinson, acting as a spokesperson for Defendants

Jones and the Dallas Cowboys, was quoted as reaffirming the allegations in that Pleading that

Plaintiff was an “extortionist.”

42.     Not only did Defendant Wilkinson, on behalf of Defendants Jones and the Dallas Cowboys

publicly affirm the “extortionist” allegations, but in this interview with ESPN, Defendant

Wilkinson and Defendant Jack, on behalf of Defendant Jones, accused Plaintiff of being an

extortionist and portrayed Plaintiff as attempting to “shakedown” Defendant Jones. Defendant

Jack provided an affidavit to ESPN claiming that Plaintiff had demanded money from Defendant

Jones years earlier, and that this meant Plaintiff’s recent lawsuit was an extortion attempt. Rather

than showing the so-called letter, Defendants Jack and Wilkinson conveniently misrepresented its

contents in a distorted and self-serving manner to further the Plaintiff is an extortionist narrative

they intentionally created.

43.       Upon information and belief, Defendants Jack and Wilkinson were referring to something

written at least five years earlier by Plaintiff as a therapeutic exercise at the direction of her

therapist. Upon information and belief, this letter was never provided to Defendant Jones but rather

was read to Defendant Jack at a dinner years before Plaintiff ever met with any attorneys

concerning the current lawsuit. The purpose and content of this writing was an attempt by Plaintiff

to share her anguish about the lack of relationship with her father and plead with Defendant Jones

for a simple meeting of any kind.

44.     Defendant Jack portrayed the therapeutic writing as Plaintiff being unsatisfied with what

she received financially from Defendant Jones. In truth and in fact, the therapy assisted letter, was

a plea by a shunned daughter to her father. Defendant Jack knew his characterization to the media



Plaintiff’s Original Complaint                                                                Page 11
was false as did Defendant Jones and Wilkinson. It was falsely characterized as a monetary demand

to support their objective to discredit Plaintiff by painting her as an extortionist.

45.     Nevertheless, Defendants Wilkinson and Jack used this plea for attention by an abandoned

child made years before any type of litigation was contemplated to distort and misrepresent to

ESPN in a nationally published article as support for the pleading which accused Plaintiff of being

an “extortionist” in effect adopting the false allegation that Plaintiff’s lawsuit was an extortion

attempt when in fact the lawsuit did not seek an economic award.

46.      In addition to adopting the “extortionist” claim, Defendant Wilkinson further stated that

the statement by Defendant Jack regarding the plea made by Plaintiff years earlier “clearly

demonstrates that money has always been the ultimate goal here. And sadly, this is just one part

of a broader calculated and concerted effort that has been going on for some time by multiple

people with various different agendas.” Once again, Defendants accuse Plaintiff of not only being

about money, but also making the unsupported accusation that Plaintiff was working in concert

with other people to extort Defendant Jones.

47.     In the same ESPN article, Defendant Wilkinson also stated publicly to the media that

Plaintiff’s Counsel had previously met with Defendant Jones’ counsel and had demanded money.

Again, this is a false statement made with the intent to continue the scheme of defaming Plaintiff.

No such demand for money was ever made by Plaintiff’s counsel.

48.     Defendant Wilkinson also added “[t]here was never a discussion about a nonmonetary

resolution. Money was always part of the deal.” Again, a categorically false statement made by

Defendant Wilkinson, who was never part of any discussions with Plaintiff or her counsel, to

intentionally and maliciously further spin the false narrative that Plaintiff demanded money and

was an “extortionist.”



Plaintiff’s Original Complaint                                                              Page 12
49.     Defendant Wilkinson’s final quote in the ESPN article was “[n]ow they've changed their

story yet again. First it wasn't about money. Now it is about money. And now they are on three

sides of a two-sided issue. They are all over the map here. Pick a story and stick with it. This is

clownish.” Again, Defendant Wilkinson totally creates a false narrative by first suggesting that

Plaintiff had changed her story and second stating, “Now it is about money,” when no story had

changed and there had not been any demand or lawsuit for money.

50.     Defendant Jack also used this media platform to falsely state that Plaintiff’s motivation in

the lawsuit was money. Defendant Jack stated that he got “a far different impression of Davis’

motives.” Defendant Jack deceptively based this statement about Plaintiff’s “motives” upon

writing by Plaintiff years earlier at her therapist’s recommendation. Of course, instead of simply

producing the letter for the media and the public to interpret its meaning, Defendant Jack falsely

characterized its contents to buttress the public smear campaign that Plaintiff was “extorting” or

“shaking down” Defendant Jones.

                                            AGENCY

51.     At all times during the complained of acts, Defendant Wilkinson was acting as the agent

and/or public spokesperson for Defendants Jones and Dallas Cowboys. Defendant Wilkinson’s

defamatory comments were made within his general authority as an agent for Defendant Jones and

Defendant Dallas Cowboys.

52.     At all times during the complained of acts, Defendant Wilkinson was in the course and

scope of his employment with Defendant Trailrunner. Defendant Wilkinson’s defamatory

comments were made within his general authority as an employee for Defendant Trailrunner.

53.     With Defendant Wilkinson as his and the Dallas Cowboys’ spokesperson, Defendants

Jones and Dallas Cowboys knew they retained a very prominent and notoriously known person in



Plaintiff’s Original Complaint                                                               Page 13
the world of public relations and world-wide media. Defendant Wilkinson has a successful, but

highly controversial, history in the world of media. With his background in political and

government related public relations and media work, Defendant Wilkinson has been publicly

criticized for his role in various controversial and criticized media campaigns, notably in

promoting the Iraq War and the story of Jessica Lynch. Perhaps his most controversial public

relations work involved the original government narrative around the tragic death of Pat Tillman,

the former NFL player who left the NFL to volunteer in the Army after 9-11 who was initially

portrayed as a martyr for war killed in battle when in fact he was killed by friendly fire, a hugely

embarrassing event for the Bush White House and the Pentagon at the time.

54.     Ron Suskind of the Washington Post wrote that Defendant Wilkinson was the “spinmeister

of the Iraq War.” Likewise, in the book Where Men Win Glory: the Odyssey of Pat Tillman, the

legendary award-winning journalist and author Jon Krakauer referred to Defendant Wilkinson as

a “major propagandist.” In the use of Defendant Wilkinson, Defendants Jones and Dallas Cowboys

knew that that he would effectively spread the false narrative that gives rise to this lawsuit.

                                       CAUSES OF ACTION

A. Count One-Defamation Per Se

55.     Plaintiff incorporates the above paragraphs setting forth the factual basis for Plaintiff’s causes

of action and hereby incorporates such as if fully set forth herein.

56.     The false and defamatory statements set forth in detail above that were published by

Defendants constitute statutory libel in that they tend to injure the reputation of Plaintiff and expose

Plaintiff to public hatred, contempt, or ridicule, tend to expose Plaintiff to financial injury, and tend

to impeach the Plaintiff’s honesty, integrity, virtue, or reputation, exposing Plaintiff to public hatred,

ridicule, and financial injury.



Plaintiff’s Original Complaint                                                                    Page 14
57.     Defendants set forth with a scheme of a planned false public smear campaign of Plaintiff to

paint her as an “extortionist” “shake down artist” who was solely motivated by money. This scheme

to defame Defendant Jones’ own daughter was set in force with the knowledge of its falsity for the

sole purpose of avoiding the simple truth: that Defendant Jones had an extramarital affair and that

Plaintiff is Defendant Jones’ daughter.

58.     In addition, as described in more detail above, the Defendants made the following false

statements:

        a. Defendant Jones in Defendant’s Plea To The Jurisdiction And Subject Thereto Original
           Answer falsely and maliciously stated “[Plaintiff] delivered a draft of her lawsuit to
           Defendant and, to borrow her phrase, asked whether he would like to ‘make a deal’ to
           ‘assure that he would not be publicly or privately identified and/or declared as
           Plaintiff’s father.’ When Defendant declined to pay, this lawsuit followed;”

        b. Defendant Jones in Defendant’s Plea To The Jurisdiction And Subject Thereto Original
           Answer also falsely and maliciously accused Plaintiff of being in some sort of
           conspiracy with other “extortionist” attempting to extort money from Defendant Dallas
           Cowboys and Defendant Jones;

        c. On March 10, 2022, Defendant Jones wrote a “Preservation Letter” to Shy Anderson’s
           divorce attorney wherein Defendant Jones accused Mr. Anderson of working with
           “others” to extort money from the Jones family. He identified Plaintiff as one of such
           persons;

        d. On March 30, 2022, in an interview with ESPN, Defendant Wilkinson, as spokesperson
           for Defendant Jones and Defendant Dallas Cowboys, stated: “This whole saga and
           series of recent attacks amounts to nothing more than an amateurish coordination
           among various parties to try to shake down the Jones family for money;”

        e. On March 31, 2022, Defendant Wilkinson, acting as spokesperson for Defendant Jones
           and Defendant Dallas Cowboys, was quoted in an ESPN article as reaffirming the
           allegation that Plaintiff was an “extortionist:” Defendant Wilkinson falsely stated that
           the “dinner meeting with Jack supports the allegation” that Plaintiff is an “extortionist;”

        f. On March 31, 2022, in an interview with ESPN, Defendant Wilkinson and Defendant
           Jack, on behalf of Defendant Jones and Defendant Dallas Cowboys, accused Plaintiff
           of being an “extortionist” and portrayed Plaintiff as attempting to “shakedown”
           Defendant Jones. Defendant Jack provided an affidavit to ESPN claiming that Plaintiff
           had demanded money from Defendant Jones, three to four years earlier, and that this
           meant Plaintiff’s recent lawsuit was an extortion attempt;


Plaintiff’s Original Complaint                                                                 Page 15
        g. In this same published article with ESPN on March 31, 2022, Defendant Wilkinson
           also used this years earlier plea for attention by Plaintiff as support for the pleading,
           which accused Plaintiff of being an “extortionist;”

        h. In the March 31, 2022 ESPN article, Wilkinson further stated that the statement by Jack
           regarding the plea made by Plaintiff years earlier “clearly demonstrates that money has
           always been the ultimate goal here. And sadly, this is just one part of a more broad
           calculated and concerted effort that has been going on for some time by multiple people
           with various different agendas;”

        i. In the March 31, 2022 ESPN article, Defendant Wilkinson also falsely stated that
           Plaintiff’s counsel had previously met with Defendant Jones’ counsel and had
           demanded money;

        j. In the March 31, 2022 ESPN article, Defendant Wilkinson also falsely stated “[t]here
           was never a discussion about a nonmonetary resolution. Money was always part of the
           deal;”

        k. In the March 31, 2022 ESPN article, Defendant Wilkinson’s further falsely stated
           “[n]ow they've changed their story yet again. First it wasn't about money. Now it is
           about money. And now they are on three sides of a two-sided issue. They are all over
           the map here. Pick a story and stick with it. This is clownish;” and,

        l. In the March 31, 2022 ESPN article, Defendant Jack falsely stated that Plaintiff’s
           motives in the lawsuit against Defendant Jones was money. Defendant Jack falsely
           stated that he got “a far different impression of Davis’ motives.” Defendant Jack based
           this statement about Plaintiff’s “motives” upon the therapeutic letter written by Plaintiff
           years earlier at her therapist’s recommendation to align Plaintiff as an “extortionist.”

59.     The above statements were published by Defendants without privilege or authorization.

60.     The above statements were all false and made with malicious intent to paint Plaintiff as an

“extortionist” and “shake down artist.” Such statements are defamation per se.

61.     Not once did Defendant Jones or any of his agents ever deny that Plaintiff was Defendant

Jones’ daughter. Instead, Defendant Jones chose the avenue of calling his own daughter an

“extortionist” merely to make his own public image less despicable by attempting to discredit

Plaintiff’s reputation and character in the public eye.




Plaintiff’s Original Complaint                                                                 Page 16
62.     Defendants started by using a court pleading to falsely plant this image of Plaintiff as an

“extortionist” who was conspiring with others in multiple extortion attempts. Then upon information

and belief, Defendants provided this defamatory and frivolous pleading to the press. Next Defendants

adopted this defamatory pleading in a national press interview. Defendants flat out falsely stated that

Plaintiff’s motives were money and referred to Plaintiff as being part of a “shake down” and

conspiring with other alleged bad and illegal actors.

63.     Plaintiff is not a public official or a public figure.

64.     Defendants, in making the false and defamatory statements, acted not only negligently but

also acted with malice.

B. Count Two-Common Law Defamation

65.     Plaintiff incorporates the above paragraphs setting forth the factual basis for Plaintiff’s causes

of action and hereby incorporates such as if fully set forth herein.

66.     Plaintiff further alleges that Defendants published the above statements of fact that referred

to Plaintiff. The statements as set forth above were false and defamatory.

67.     In addition, as described in more detail above, Defendants made the following false

statements:

        a. Defendant Jones in Defendant’s Plea To The Jurisdiction And Subject Thereto Original
           Answer falsely and maliciously stated “[Plaintiff] delivered a draft of her lawsuit to
           Defendant and, to borrow her phrase, asked whether he would like to ‘make a deal’ to
           ‘assure that he would not be publicly or privately identified and/or declared as
           Plaintiff’s father.’ When Defendant declined to pay, this lawsuit followed;”

        b. Defendant Jones in Defendant’s Plea To The Jurisdiction And Subject Thereto Original
           Answer also falsely and maliciously accused Plaintiff of being in some sort of
           conspiracy with other “extortionist” attempting to extort money from Defendant Dallas
           Cowboys and Defendant Jones;

        c. On March 10, 2022, Defendant Jones wrote a “Preservation Letter” to Shy Anderson’s
           divorce attorney wherein Defendant Jones accused Mr. Anderson of working with



Plaintiff’s Original Complaint                                                                    Page 17
             “others” to extort money from the Jones family. He identified Plaintiff as one of such
             persons;

        d. On March 30, 2022, in an interview with ESPN, Defendant Wilkinson, as spokesperson
           for Defendant Jones and Defendant Dallas Cowboys, stated: “This whole saga and
           series of recent attacks amounts to nothing more than an amateurish coordination
           among various parties to try to shake down the Jones family for money;”

        e. On March 31, 2022, Defendant Wilkinson, acting as spokesperson for Defendant Jones
           and Defendant Dallas Cowboys, was quoted in an ESPN article as reaffirming the
           allegation that Plaintiff was an “extortionist:” Defendant Wilkinson falsely stated that
           the “dinner meeting with Jack supports the allegation” that Plaintiff is an “extortionist;”

        f. On March 31, 2022, in an interview with ESPN, Defendant Wilkinson and Defendant
           Jack, on behalf of Defendant Jones and Defendant Dallas Cowboys, accused Plaintiff
           of being an “extortionist” and portrayed Plaintiff as attempting to “shakedown”
           Defendant Jones. Defendant Jack provided an affidavit to ESPN claiming that Plaintiff
           had demanded money from Defendant Jones, three to four years earlier, and that this
           meant Plaintiff’s recent lawsuit was an extortion attempt;

        g. In this same published article with ESPN on March 31, 2022, Defendant Wilkinson
           also used this years earlier plea for attention by Plaintiff as support for the pleading,
           which accused Plaintiff of being an “extortionist;”

        h. In the March 31, 2022 ESPN article, Wilkinson further stated that the statement by Jack
           regarding the plea made by Plaintiff years earlier “clearly demonstrates that money has
           always been the ultimate goal here. And sadly, this is just one part of a more broad
           calculated and concerted effort that has been going on for some time by multiple people
           with various different agendas;”

        i. In the March 31, 2022 ESPN article, Defendant Wilkinson also falsely stated that
           Plaintiff’s Counsel had previously met with Defendant Jones’ counsel and had
           demanded money;

        j. In the March 31, 2022 ESPN article, Defendant Wilkinson also falsely stated “[t]here
           was never a discussion about a nonmonetary resolution. Money was always part of the
           deal;”

        k. In the March 31, 2022 ESPN article, Defendant Wilkinson’s further falsely stated
           “[n]ow they've changed their story yet again. First it wasn't about money. Now it is
           about money. And now they are on three sides of a two-sided issue. They are all over
           the map here. Pick a story and stick with it. This is clownish;” and,

        l. In the March 31, 2022 ESPN article, Defendant Jack falsely stated that Plaintiff’s
           motives in the lawsuit against Defendant Jones was money. Defendant Jack falsely
           stated that he got “a far different impression of Davis’ motives.” Defendant Jack based


Plaintiff’s Original Complaint                                                                 Page 18
             this statement about Plaintiff’s “motives” upon the therapeutic letter written by Plaintiff
             years earlier at her therapist’s recommendation to align Plaintiff as an “extortionist.”

68.     The above statements were published by Defendants without privilege or authorization.

69.     The above statements were all false and made with malicious intent to paint Plaintiff as an

“extortionist” and “shake down artist.”

70.     Defendants set forth with a scheme of a planned false public smear campaign of Plaintiff to

paint her as an “extortionist” “shake down artist” who was solely motivated by money. This scheme

to defame Defendant Jones’ own daughter was set in force with the knowledge of its falsity for the

sole purpose of avoiding the simple truth: that Defendant Jones had an extramarital affair and that

Plaintiff is Defendant Jones’ daughter. Plaintiff did not demand money or seek monetary damages in

the Lawsuit nor in connection with any communications by herself or her lawyers relating to the

Lawsuit or her seeking her right to establish parentage.

71.     Defendants started by using a court pleading to falsely plant this image of Plaintiff as an

“extortionist.” Then upon information and belief, Defendants provided this defamatory and frivolous

pleading to the press. Next, Defendants adopted this defamatory pleading in a national press

interview. Finally, Defendants flat out falsely stated that Plaintiff’s motives were money and referred

to Plaintiff as being part of a “shake down.”

72.     Plaintiff is not a public official or a public figure.

73.     Defendants in making the false and defamatory statements acted not only negligently but also

acted with malice.

                                               DAMAGES

74.     As a direct and proximate result of Defendants’ false and defamatory statements published,

Plaintiff has endured shame, embarrassment, humiliation, and mental pain and anguish. Additionally,

Plaintiff has and will in the future be seriously injured in her business reputation, good name, and

Plaintiff’s Original Complaint                                                                  Page 19
standing in the community, and will be exposed to the hatred, contempt, and ridicule of the public in

general as well as of her business associates, clients, friends, and relatives. Consequently, Plaintiff

seeks actual and special damages in a sum within the jurisdictional limits of this Court.

75.     Plaintiff is in the occupation of politics. Her career path began in college where she interned

in Washington D.C. Plaintiff served in the Whitehouse for fourteen months which required a high

security clearance. Plaintiff currently is a congressional aide. Defendants’ public attack on Plaintiff

as an “extortionist” and “shake down artist” has injured her reputation not only in the public arena of

politics but has damaged her ability to work in the future in her occupation.

76.     By their false statements of fact and character assignation, Defendants have been successful

in their smear campaign to destroy the reputation of Plaintiff. The first thing any prospective employer

does today is Google search a prospective employee. The Google search “Alexandra Davis

extortionist” results in over 4,000,000 hits alone. The Google search “Alexandra Davis shakedown

artist” results in over 2,000,000 results. This does not take into account the other search engines,

numerous print publications of the same nature, nor television broadcasts. Many of the referenced

articles resulting from these searches display a headline in some form or another referring to Plaintiff

to be claimed by Defendant Jones as extorting him.

77.     Defendant Jones is probably the most well-known, most powerful team owner in the NFL.

He certainly is the most public. The Dallas Cowboys franchise is estimated to be perhaps the most

valuable sports franchise in the world, and certainly in the NFL. Defendant Jones has been lauded by

many experts as a marketing genius, and his vast fortune and power attests to that. The Dallas

Cowboys have a marketing division that is headed by Defendant Jones’ namesake son.

78.     Defendants Jones and Dallas Cowboys publicity profile and associations extend gigantically

to the corporate world and include corporate and charitable partnerships. Defendant Jones’ influence



Plaintiff’s Original Complaint                                                                  Page 20
also extends into politics, Plaintiff’s chosen career. Defendant Jones is a huge benefactor and

contributor to mostly Republican candidates nationally and in Texas. In November 2022, Defendant

Jones was reported to have made $900,000 in “last minute” donations to the top three Republican

candidates in Texas alone. The effects of Defendant Jones characterizing Plaintiff as an “extortionist,”

a “shakedown artist,” and someone who is “conspiring” with others he claims are extorting him, are

permanently and indelibly deleterious to Plaintiff’s reputation in her chosen occupation in the political

arena.

79.      Plaintiff’s current employer has received defamatory communications referring to Plaintiff

as an “extortionist.” For example, as recent as December 24, 2022, Plaintiff’s employer received the

following message on Twitter: “You may want to get rid of your congressional aid Alexandra Davis

because extortion seems to be her thing.” This is just one example of the obvious damage to Plaintiff’s

career in the political arena where public opinion dictates your employment.

                                      PUNITIVE DAMAGES

80.      The above-described defamatory statements were published maliciously by the Defendants

for the reason that Defendants acted with the specific intent to cause injury to Plaintiff or they were

made with the knowledge that they were false or with such utter recklessness as to indicate a conscious

indifference to the rights, safety, or welfare of Plaintiff with actual, subjective awareness that his

conduct involved an extreme degree of risk of harm to Plaintiff. Thus, the award of exemplary

damages in an amount in excess of the minimal jurisdictional limits of this court is justified.

         WHEREFORE, upon final trial Plaintiff requests the following relief:
         1.      Actual damages;
         2.      Special damages;
         2.      Punitive damages;
         3.      Costs of suit; and
         4.      Any other and further relief, both general and special, at law or in equity, to which


Plaintiff’s Original Complaint                                                                    Page 21
                 Plaintiff may be justly entitled.
                                                     Respectfully submitted,

                                                     BERGMANGRAY LLP

                                                     /s/ Jay K. Gray______________
                                                     Jay K. Gray
                                                     State Bar No. 08324050
                                                     Andrew A. Bergman
                                                     State Bar No. 02196300
                                                     4514 Travis Street
                                                     Travis Walk, Suite 300
                                                     Dallas, Texas 75205
                                                     214-528-2444
                                                     214-599-0602 [fax]
                                                     gray@bergmangray.com
                                                     bergman@bergmangray.com
                                                     LEAD COUNSEL


                                                     KEIL LAW FIRM, PLLC
                                                     406 Walnut Street
                                                     Texarkana, Arkansas 71854
                                                     Telephone: (870) 772-4113
                                                     Facsimile: (870) 773-2967

                                                     BY: /s/ Matt Keil______________
                                                     Matt Keil, TX Bar No. 11181750
                                                     mkeil@kglawfirm.com
                                                     Erin Keil, TX Bar No. 24120462
                                                     ekeil@kglawfirm.com
                                                     Hailee M. Golden Amox, TX Bar No.
                                                     24085176
                                                     hamox@kglawfirm.com


                                                     ATTORNEYS FOR PLAINTIFF




Plaintiff’s Original Complaint                                                           Page 22
